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10
                               UNITED STATES DISTRICT COURT
11                            CENTRAL DISTRICT OF CALIFORNIA
12   CAROLWOOD EQUITIES, LLC, a Delaware              CASE NO.: 2:22-cv-08951-AB (RAOx)
13   Limited Liability Company, and CAROLWOOD
     CAPITAL PARTNERS, LLC, a California
14   Limited Liability Company
                                                      STIPULATION TO DISMISS ACTION
15                       Plaintiffs,                  WITH PREJUDICE
                v.
16

17   CAROLWOOD PARTNERS, INC., a California
     Corporation; and DOES 1 through 10, inclusive,
18
                         Defendants.
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                     STIPULATION FOR DISMISSAL WITH PREJUDICE
Case 2:22-cv-08951-AB-RAO Document 25 Filed 10/27/23 Page 2 of 3 Page ID #:104



 1   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          Pursuant to Rule 41(a)(1)(A)(ii) of Federal Rules of Civil Procedure, Plaintiffs Carolwood
 3   Equities, LLC and Carolwood Capital Partners, LLC, and Defendant Carolwood Partners, Inc.
 4   hereby stipulate to the dismissal of the above-entitled action, with prejudice to all claims, causes of
 5   action, and parties, with each party bearing that party’s own attorney’s fees and costs.
 6

 7   IT IS SO STIPULATED.

 8
     Dated: October 26, 2023                       NOVIAN & NOVIAN, LLP
 9

10
                                                   By: /s/ Farhad Novian
11                                                        FARHAD NOVIAN
                                                          MICHAEL GERST
12                                                        MATTHEW NOVIAN
13                                                         Attorneys for Plaintiffs,
14                                                         CAROLWOOD EQUITIES, LLC and
                                                           CAROLWOOD CAPITAL PARTNERS, LLC
15
     DATED: October 26, 2023                       BUCHALTER
16

17                                                 By:/s/_Matthew Seror________
                                                          MATTHEW L. SEROR
18
                                                           Attorneys for Defendant
19                                                         CAROLWOOD PARTNERS, INC.
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                           STIPULATION FOR DISMISSAL WITH PREJUDICE
Case 2:22-cv-08951-AB-RAO Document 25 Filed 10/27/23 Page 3 of 3 Page ID #:105



                                    CERTIFICATE OF SERVICE
 1

 2          I HEREBY CERTIFY that I filed the foregoing on this 27th day of October 2023,
 3   which will send a notice of electronic filing to all counsel of record.
 4

 5                                                          /s/___Farhad Novian __________
                                                                  Farhad Novian
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                           STIPULATION FOR DISMISSAL WITH PREJUDICE
